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OAO 245C NNY(Rev. 10/05) Amended Judgment in a Criminal Case                                                             (NOTE: Identify Changes with Asterisks (*))
         Sheet 1


                                           UNITED STATES DISTRICT COURT
                           Northern                                       District of                                    New York
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                        V.
                  Gregory Bates                                                    Case Num ber:                   DNYN 505CR000203-004
                   a.k.a. Geno                                                     USM Numb er:                    13304-052
                                                                                   Edward Z. Menkin
                                                                                   State Tower Building, Suite 909
                                                                                   109 South Warren Street
Date of Original Judgment: January 3, 2006                                         Syracuse, New York 13202 (315) 425-1212
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) 1 of the Indictment on August 30, 2005.
G pleaded nolo contende re to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of no t guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of O ffense                                                                Offense Ended                  Count
21 U.S.C. § 846                    Conspiracy to Possess with Intent to Distribute and Distribution                     4/27/05                       1
                                   of Cocaine

       The defendant is sentenced as provided in pages 2 through                    6          of this judgment. The sentence is imposed in accordance
with 18 U .S.C. § 35 53 and the Sentencing G uidelines.
G The defendant has been found not guilty on count(s)
X Count(s)           4 of the Indictment         X is G are dismissed on the mo tion of the United States.
         It is ordered that the defendant must notify the U nited S tates Atto rney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessm ents imp osed by this jud gment are fully paid. If ordered to pay restitution,
the defenda nt must notify the court and U nited States attorney of material changes in eco nomic circumstances.
                                                                                   March 28, 2006
                                                                                   Date of Imposition of Judgment




HPW                                                                                May 18, 2006
                                                                                   Date
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             Sheet 2 — Imprisonment                                                                           (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT:                    Gregory Bates
CASE NUMBER:                  DNYN505CR000203-004


                                                             IMPRISONMENT

         The defendant is hereb y com mitted to the custody o f the United S tates B ureau of Prisons to be imprisoned for a total term of:
         *43 mon ths. This sentence is imposed to run concurrently with the state court sentence the defendant is currently serving and
         this sentence is to have begun on January 3, 2006 , the date when the sentence was originally imposed by this Court. The
         sentence credits you with the 8 months you served in state custody on a related charge that will not be credited to the federal
         sentence under 18 U.S.C. § 3585(b).


     G   The court makes the following recommen dations to the B ureau of P risons:




     X   The defendant is rema nded to the custod y of the U nited S tates M arshal.

     G   The defendant shall surrender to the United States M arshal for this district:

         G    at                                   G a.m.          G p.m.       on                                                 .

         G    as notified by the United States M arshal.

     G   The defendant shall surrender for service o f sentence at the institution designated by the B ureau of P risons:

         G    before 2 p.m. on                                              .

         G    as notified by the United States M arshal.

         G    as notified by the Probation or Pretrial Services Office.



                                                                     RETURN
I have exec uted this judgment as follows:




         Defendant delivered on                                                              to

at                                                   , with a certified co py of this ju dgm ent.




                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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AO 245C        NNY(Rev. 10/05) Amended Judgment in a Criminal Case
               Sheet 3 — Supervised Release                                                                       (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                    Gregory Bates
CASE NUMBER:                  DNYN505CR000203-004
                                                          SUPERVISED RELEASE
Upon release fro m imp risonm ent, the defendant shall b e on su pervised release for a term of:


            6 yea rs.



     The defendant must rep ort to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the B ureau of P risons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a co ntrolled substance . The defendant shall refrain from an y unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future substance
         abuse. (Check, if ap plicab le.)

x        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

x        The defendant shall co ope rate in the collection of D NA as directed b y the pro bation officer. (Deselect, if inap plicab le.)

G        The defendant shall register with the state sex offender registration agency in the state whe re the d efendant resid es, works, or is a student,
         as directed b y the pro bation officer. (Check, if app licable.)

G        The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
     If this judgment imposes a fine or restitution, it is a cond ition of supervised release tha t the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.
     The defendant must co mply with the standard cond itions that have b een adop ted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall rep ort to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted o f a
          felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation o fficer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm ission of the cou rt;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement; and
14)       the defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
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            Sheet 3C — Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                Gregory Bates
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                                        SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant shall participate in a program for substance abuse which shall include testing for drug and/or alcohol use and
      may include inpatient and/or outpatient treatment. The program shall be approved by the United States Probation Office.
2.    The defendant shall contribute to the cost of any evaluation, testing, treatment and/or monitoring services rendered in an
      amount to be determined by the probation officer based on the defendant’s ability to pay and the availability of third party
      payments.
3.    The defendant shall provide the probation officer with access to any requested financial information.



     DEFENDANT’S ACKNOWLEDGMENTOF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.
The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy
of them.


                          Defendant                                                    Date



                          U.S. P robation O fficer/Designated W itness                 Date
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AO 245C    NNY(Rev. 10/05) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                            (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                      Gregory Bates
CASE NUMBER:                    DNYN505CR000203-004
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                       Fine                                  Restitution
TOTALS           $ 100.00                                         $ W aived                             $ N/A



G   The determination of re stitution is de ferred until              . An Am ended Jud gment in a Crim inal Case (AO 245 C) will
    be entered after such determination.

G   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each p ayee shall receive an approximately proportioned paym ent, unless spec ified otherwise in
    the priority order or percen tage payment column below. However, pursuant to 18 U .S.C. § 366 4(i), all non federal victims must be p aid
    before the United States is paid.

Name of Payee                                      Tota l Loss*                   Restitution Ordered                 Priority or Percentage




TOTALS                             $                                      $


G    Restitution amount ordered pursuant to plea agreement        $


G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

G    The cou rt determined that the defendant do es not have the ability to p ay interest and it is ordered that:

     G the interest requirement is waived for the           G fine    G    restitution.

     G the interest requirement for the        G     fine    G    restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245C     NNY(Rev. 10/05) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                      (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT:                  Gregory Bates
CASE NUMBER:                DNYN505CR000203-004

                                                     SCHEDULE OF PAYMENTS
Having assessed the de fendant’s ability to pay, payment of the total criminal monetary penalties are due as follow s:

A    X    In full immediately; or

B    G    Lump sum payment of $                              due immediately, balance due

          G     not later than                                    , or
          G     in acco rdance with   G    D,    G    E,     G      F, or     G G below; or
C    G    Payment to begin immediately (may be combined with                G D,      G    E, or      G    G below); or

D    G    Payment in equal                  (e.g., weekly, mo nthly, quarterly) installm ents of $                        over a period of
                      (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

E    G    Payment in equal                   (e.g., weekly, mo nthly, quarterly) installm ents of $                      over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

F    G    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

G    G    Special instructions regarding the paym ent of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary pena lties is due during
imprisonm ent. All criminal mo netary p enalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Respo nsibility Program, are made to Lawrence K . Baerman, C lerk, U .S. District C our t, Fed eral Bldg., P.O . Box 7367, 1 00 S . Clinton
Street, Syracuse, N.Y. 13261-7367, unless otherwise directed by the court, the probation officer, or the U nited S tates attorney. If a victim
cannot be located , the restitution paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved if and when the victim
is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     G    Defendant and Co-De fendant Names and Case N umbers (including defendant numb er), T otal Amou nt, Joint and Severa l Amo unt, and
          corresponding payee, if appropriate.



     G    The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or part
          of the restitution ordered herein and may order such payment in the future.


G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following prope rty to the United States:

Paym ents shall be applied in the following ord er: (1) assessm ent, (2) restitution p rincipa l, (3) re stitution interest, (4) fine principal,(5) fine
interest, (6) comm unity restitution, (7) penalties, and (8) costs, including co st of prosecution and court costs.
